Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 1 of 22




                           EXHIBIT “A”
Filing Case 9:18-cv-81358-RLR
       # 73590407               Document
                   E-Filed 06/14/2018    1-2 Entered
                                      04:02:53 PM on FLSD Docket 10/10/2018 Page 2 of 22



                                                             IN THE CIRCUIT COURT OF THE
                                                             FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                             FOR PALM BEACH COUNTY, FLORIDA.

                                                             CASE NO.: 50-2018-CA-001295-XXXX-
                                                             MB-AF



          CATHERINE DOLAN as Power of Attorney
          for JOHN CRAWN,

                 Plaintiff,

          vs.


         WASTE MANAGEMENT INC. OF
         FLORIDA, JOSEPH ALAN MATHENY and
         THE HEIL CO.,

                 Defendants.


                                            AMENDED COMPLAINT

                COMES NOW, the Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

        CRAWN, by and through the undersigned attorneys and hereby sues the following Defendants,

        WASTE MANAGEMENT INC. OF FLORIDA, JOSEPH ALAN MATHENY, and THE HEIL

        CO., and as grounds therefore state as follows:

                                          GENERAL ALLEGATIONS

                I.      This is an action in excess of $15,000.00, exclusive of interest and costs and within

        the jurisdiction of this Court.

                2.      At all times material times, the Plaintiff, JOHN CRAWN, is and was a resident of

        Okeechobee County, Florida.

                3.      At all times material hereto, Plaintiff, CATHERINE DOLAN as Power of Attorney

        for JOHN CRAWN, was a resident of Okeechobee County, Florida. On December 26, 2017,
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 3 of 22




   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 2 of 13

   CATHERINE DOLAN was appointed as Power of Attorney for JOHN CRAWN. (Durable Power

   of Attorney of JOHN CRAWN is attached hereto as "Exhibit "A")

           4.       At all times material hereto, WASTE MANAGEMENT INC. OF FLORIDA was a

   Florida Corporation organized and existing under the law of Florida and conducted its daily

   business in Palm Beach County, Florida. WASTE MANAGEMENT INC. OF FLORIDA currently

   keeps and/or kept an office for transaction of its customary business in Palm Beach County, Florida

   and that is where one of its principle places of business is where policy-making or executive

   activities of the corporation occur.

           5.       At all times material hereto, THE HEIL CO., was a Foreign Profit Corporation

   organized, registered and existing under the law of Florida and conducted business in Palm Beach

   County, Florida. THE HEIL CO. currently keeps and/or kept an office for transaction of its

   customary business in Palm Beach County, Florida and that is where one of its principle places of

  business is where policy-making or executive activities of the corporation occur.

           6.      At all material times, the Defendant, JOSEPH ALAN MATHENY was and is a

  resident of Okeechobee County, Florida. He was employed and operated the dump truck owned

   and/or leased by the Defendant, WASTE MANAGEMENT INC. OF FLORIDA, with the consent

   and permission of Defendant, WASTE MANAGEMENT INC. OF FLORIDA.

           7.      On October 26, 2017, Defendant, WASTE MANAGEMENT INC. OF FLORIDA

  owned and/or operated a 2006 PTRB Dump Truck (VIN 1NPZL00X56D716740).                            At

  approximately 7:30 a.m., the Defendant, JOSEPH ALAN MATHENY, was driving the dump truck

  near the intersection of State Road 70 and State Road 710 in Okeechobee, Florida.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 4 of 22



   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 3 of 13

           8.       Defendant, THE HEIL CO., advertised, designed, built, sold and installed the dump

   body and underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") of the dump

   truck involved in the accident that gives rise to this case, without an adequate underride guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper").

           9.       Alternatively, Defendant, WASTE MANAGEMENT INC. OF FLORIDA

   advertised, designed, built, sold and installed the dump body and underride guard, (aka, "rear

   impact guard," "ICC bar," or "rear bumper") of the dump truck involved in the accident that gives

   rise to this case, without an adequate underride guard, (aka, "rear impact guard," "ICC bar," or

   "rear bumper").

           10.      At that time and place the Plaintiff, JOHN CRAWN, was a seat belted driver in a

   2004 Dodge Ram Truck (VIN 1D7HU18D34S753221). Suddenly, and without warning, the dump

   truck driven by the Defendant, JOSEPH ALAN MATHENY, slowed and/or stopped. Plaintiff,

   JOHN CRAWN crashed into the back of the dump truck, penetrating the rear of the dump truck

   under the dump body and underride guard, (aka, "rear impact guard," "ICC bar," or "rear

  bumper"). The dump truck received the impact underneath the rear of the underride guard, (aka,

   "rear impact guard," "ICC bar," or "rear bumper") and the Plaintiff's truck received the impact

  head-on.

           11.     Venue is proper in Palm Beach County Circuit Court because the Defendants,

   WASTE MANAGEMENT INC. OF FLORIDA and THE HEIL CO., do business through their

  agents, apparent agents, employees and representatives in Palm Beach County, Florida.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 5 of 22



   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 4 of 13

          COUNTI— NEGLIGENCE CLAIM AGAINST THE DEFENDANT, WASTE
                       MANAGEMENT INC. OF FLORIDA

           12.      Plaintiff hereby realleges and incorporates by reference the allegations contained

   in Paragraphs 1-4, 6-7, and 9-11 as though fully set forth herein.

           13.      Defendant, WASTE MANAGEMENT INC. OF FLORIDA negligently designed,

   approved, manufactured, marketed, sold and installed the underride guard, (aka, "rear impact

   guard," "ICC bar," or "rear bumper") and its components in a way that it failed to prevent vehicle

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") in cases of rear end

   collisions as was the case herein.

           14.      At the time of the design, manufacture and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") installed in the dump

   truck, Defendant, WASTE MANAGEMENT INC. OF FLORIDA knew, or in the exercise of due

   diligence should have known, about the danger of vehicle underride guard, (aka, "rear impact

   guard," "ICC bar," or "rear bumper") in rear-end collisions unless an adequate underside guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper") was in place.

           15.     At the time of the design, manufacture, and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") in the dump truck,

   Defendant, WASTE MANAGEMENT INC. OF FLORIDA knew, or in the exercise of due

   diligence should have known, that to prevent the underride guard, (aka, "rear impact guard," "ICC

  bar," or "rear bumper") it was necessary to manufacture and install an adequate underride guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper") and that this was technologically feasible

   at a reasonable cost.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 6 of 22




   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 5 of 13

           16.      At the time of the design, manufacture, and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") in the dump truck,

   Defendant, WASTE MANAGEMENT INC. OF FLORIDA knew, or in the exercise of due

   diligence should have known that vehicle underride guard, (aka, "rear impact guard," "ICC bar,"

   or "rear bumper") was a preventable occurrence in rear-end collisions.

           17.      Additionally, Defendant, WASTE MANAGEMENT INC. OF FLORIDA

   negligently failed to maintain the dump truck in a safe condition.

           18.      As a result of Defendant, WASTE MANAGEMENT INC. OF FLORIDA's

   aforementioned negligence and breach of their legal duty, Plaintiff, JOHN CRAWN has suffered

   severe and permanent injuries.

           19.     As a result of the Defendant, WASTE MANAGEMENT INC. OF FLORIDA's

   negligence, Plaintiff JOHN CRAWN suffered bodily injury and resulting pain and suffering,

   disability, disfigurement, mental anguish, loss of the capacity for the enjoyment of life, expense of

   hospitalization, medical and nursing care and treatment, aggravation and/or activation of a

   previously existing condition and property damage to his vehicle. These losses are permanent or

   continuing and Plaintiff will suffer these losses in the future.

           WHEREFORE, Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

   CRAWN, demands judgment for damages against Defendant, WASTE MANAGEMENT INC.

   OF FLORIDA, in excess of $15,000.00, demands taxable costs, and further demands trial by jury.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 7 of 22



   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 6 of 13

                     COUNT II — STRICT LIABILITY AGAINST DEFENDANT,
                         WASTE MANAGEMENT INC. OF FLORIDA

           20.      Plaintiff hereby realleges and incorporates by reference the allegations contained

   in Paragraphs 1-4, 6-7, and 9-11 as though fully set forth herein.

           21.      At all times material hereto, Defendant, WASTE MANAGEMENT INC. OF

   FLORIDA, was in the business of designing, testing, approving, manufacturing, marketing,

   distributing, installing and selling the underride guard, (aka, "rear impact guard," "ICC bar," or

   "rear bumper") that was installed in the dump truck involved in the accident that gives rise to this

   case.

           22.      The dump truck was defective in design and manufacture and was unreasonably

   dangerous. These design and manufacturing defects include, but are not limited to:

                    a)      a dump truck body and underride guard, (aka, "rear impact guard," "ICC

                   bar," or "rear bumper") designed such that it allowed passenger compartment

                   intrusion during foreseeable rear-end accidents; and

                   b)       an underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper")

                   that allowed serious injuries to passengers in foreseeable rear end collisions, when

                   there were available reasonable, cost effective, and technologically feasible

                   alternate designs to protect life and limb.

           23.     The design and manufacturing defects in the dump truck body and underride guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper") were the proximate cause of Plaintiff,

   JOHN CRAWN' s injuries and damages.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 8 of 22




   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 7 of 13

           24.      Defendant, WASTE MANAGEMENT INC. OF FLORIDA is strictly liable to

   Plaintiff, JOHN CRAWN for his injuries, among other things, the defects and inadequacies in the

   design and manufacture of the dump truck body and underside guard, (aka, "rear impact guard,"

   "ICC bar," or "rear bumper").

           25.      As a result of Defendant, WASTE MANAGEMENT INC. OF FLORIDA

   aforementioned negligence and breach of their legal duty, Plaintiff, JOHN CRAWN has suffered

   severe and permanent injuries.

           26.      As a result of the Defendant, WASTE MANAGEMENT INC. OF FLORIDA's

   negligence, Plaintiff JOHN CRAWN suffered bodily injury and resulting pain and suffering,

   disability, disfigurement, mental anguish, loss of the capacity for the enjoyment of life, expense of

   hospitalization, medical and nursing care and treatment, aggravation and/or activation of a

   previously existing condition and property damage to his vehicle. These losses are permanent or

   continuing and Plaintiff will suffer these losses in the future.

           WHEREFORE, Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

   CRAWN, demands judgment for damages against Defendant, WASTE MANAGEMENT INC.

   OF FLORIDA, in excess of $15,000.00, demands taxable costs, and further demands trial by jury.

                  COUNT III - NEGLIGENCE CLAIM AGAINST DEFENDANT,
                                 JOHN ALAN MATHENY

           27.     Plaintiff hereby realleges and incorporates by reference the allegations contained

  in Paragraphs 1-3, 6-7, and 10-11 as though fully set forth herein.

           28.     The Defendant, JOSEPH ALAN MATHENY, owed a duty to the Plaintiff to

  operate a vehicle in a reasonable manner.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 9 of 22




   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 8 of 13

           29.      The Defendant, JOSEPH ALAN MATHENY breached that duty by negligently

                    a)      Operating the dump truck;

                    b)      Failing to apply the brakes before impact;

                    c)      Failing to assure that the brake lights on the dump truck worked properly.

           30.      As a result of Defendant, JOSEPH ALAN MATHENY, aforementioned negligence

   and breach of his legal duty, Plaintiff, JOHN CRAWN has suffered severe and permanent injuries.

           31.      As a result of the Defendant, JOSEPH ALAN MATHENY's negligence, Plaintiff

     JOHN CRAWN suffered bodily injury and resulting pain and suffering, disability,

     disfigurement, mental anguish, loss of the capacity for the enjoyment of life, expense of

     hospitalization, medical and nursing care and treatment, aggravation and/or activation of a

     previously existing condition and property damage to his vehicle. These losses are permanent

     or continuing and Plaintiff will suffer these losses in the future.

           WHEREFORE, Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

   CRAWN, demands judgment for damages against Defendant, JOSEPH ALAN MATHENY, in

   excess of $15,000.00, demands taxable costs, and further demands trial by jury.

     COUNT IV — NEGLIGENCE CLAIM AGAINST THE DEFENDANT, THE HEIL CO.

           32.     Plaintiff hereby realleges and incorporates by reference the allegations contained

   in Paragraphs 1-3, 5, 8, and 10-11 as though fully set forth herein.

           33.     Defendant, THE HEIL CO. negligently designed, approved, manufactured,

  marketed, sold and installed the underside guard, (aka, "rear impact guard," "ICC bar," or "rear
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 10 of 22




    AMENDED COMPLAINT
    Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
    Case No.: 50-2018-CA-001295-XXXX-MB-AF
    Page 9 of 13

   bumper") and its components in a way that it failed to prevent vehicle underride guard, (aka, "rear

   impact guard," "ICC bar," or "rear bumper") in cases of rear end collisions as was the case herein.

            34.      At the time of the design, manufacture and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") installed in the dump

    truck, Defendant, THE HEIL CO. knew, or in the exercise of due diligence should have known,

   about the danger of vehicle underside in rear-end collisions unless an adequate underride guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper") was in place.

            35.      At the time of the design, manufacture, and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") in the dump truck,

   Defendant, THE HEIL CO. knew, or in the exercise of due diligence should have known, that to

   prevent underride it was necessary to manufacture and install an adequate underride guard, (aka,

   "rear impact guard," "ICC bar," or "rear bumper") and that this was technologically feasible at a

   reasonable cost.

            36.     At the time of the design, manufacture, and installation of the dump body and

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") in the dump truck,

   Defendant, THE HEIL CO. knew, or in the exercise of due diligence should have known that

   vehicle underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") was a preventable

   occurrence in rear-end collisions.

            37.     As a result of Defendant, THE HEIL CO.'s aforementioned negligence and breach

   of their legal duty, Plaintiff, JOHN CRAWN has suffered severe and pe"ruanent injuries.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 11 of 22



    AMENDED COMPLAINT
    Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
    Case No.: 50-2018-CA-001295-XXXX-MB-AF
    Page 10 of 13

            38.      As a result of the Defendant, THE HEIL CO's negligence, Plaintiff JOHN CRAWN

    suffered bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish,

    loss of the capacity for the enjoyment of life, expense of hospitalization, medical and nursing care

    and treatment, aggravation and/or activation of a previously existing condition and property

    damage to his vehicle. These losses are permanent or continuing and Plaintiff will suffer these

    losses in the future.

            WHEREFORE, Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

   CRAWN, demands judgment for damages against Defendant, THE HEIL CO., in excess of

   $15,000.00, demands taxable costs, and further demands trial by jury.

           COUNT V - STRICT LIABILITY AGAINST DEFENDANT, THE HEIL CO.

            39.     Plaintiff hereby realleges and incorporates by reference the allegations contained

   in Paragraphs 3, 5, 8, and 10-11 as though fully set forth herein.

            40.     At all times material hereto, Defendant, THE HEIL CO., was in the business of

   designing, testing, approving, manufacturing, marketing, distributing, installing and selling the

   underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper") that was installed in the

   dump truck involved in the accident that gives rise to this case.

           41.      The dump truck was defective in design and manufacture and was unreasonably

   dangerous. These design and manufacturing defects include, but are not limited to:

                    a)      a dump truck body and underride guard, (aka, "rear impact guard," "ICC

                            bar," or "rear bumper") designed such that it allowed passenger

                            compartment intrusion during foreseeable rear-end accidents; and
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 12 of 22




   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 11 of 13

                    b)      an underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper")

                            that allowed the causing of serious injuries to passengers in foreseeable rear

                            end collisions, when there were available reasonable, cost effective, and

                            technologically feasible alternate designs to protect life and limb.

           42.      The design and manufacturing defects in the dump truck body and underride guard,

   (aka, "rear impact guard," "ICC bar," or "rear bumper") were the proximate cause of Plaintiff,

   JOHN CRAWN's injuries and damages.

           43.     Defendant, THE HEIL CO. is strictly liable to Plaintiff, JOHN CRAWN for his

   injuries, among other things, the defects and inadequacies in the design and manufacture of the

   dump truck body and underride guard, (aka, "rear impact guard," "ICC bar," or "rear bumper").

           44.     As a result of Defendant, THE HEIL CO. aforementioned negligence and breach

   of their legal duty, Plaintiff, JOHN CRAWN has suffered severe and permanent injuries.

           45.     As a result of the Defendant, THE HEIL CO.'s negligence, Plaintiff JOHN

   CRAWN suffered bodily injury and resulting pain and suffering, disability, disfigurement, mental

   anguish, loss of the capacity for the enjoyment of life, expense of hospitalization, medical and

   nursing care and treatment, aggravation and/or activation of a previously existing condition and

   property damage to his vehicle. These losses are permanent or continuing and Plaintiff will suffer

   these losses in the future.

           WHEREFORE, Plaintiff, CATHERINE DOLAN as Power of Attorney for JOHN

   CRAWN, demands judgment for damages against Defendant, THE HEIL CO., in excess of

   $15,000.00, demands taxable costs, and further demands trial by jury.
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 13 of 22



   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 12 of 13

          IHEREBY CERTIFY that a true and correct copy of the foregoing was sent via E-Serve

   to all Counsel on the attached list, this 14th day of June, 2018.




                                             KAREN E. TERRY
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Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 14 of 22



   AMENDED COMPLAINT
   Catherine Dolan as POA for John Crawn vs. Waste Management Inc. of Florida, et al.
   Case No.: 50-2018-CA-001295-XXXX-MB-AF
   Page 13 of 13

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Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 15 of 22




                                   DURABLE POWER OF ATTORNEY

                                                       OF

                                                JOHN CRAWN

            I, JOHN CRAWN, with an address of 2809 SE 38th Ave., Okeechobee, Florida 34974,
     make, constitute and nominate my mother, CATHERINE DOLAN, with an address of 123 S.
     Laurel Drive, Margate, FL 33063, as my agent.

                                                  ARTICLEI

             Ihereby give and grant unto my said agent full power and authority to act for me in any
     lawful way with respect to the powers enumerated in Article II, and to the powers whichIhave
     initialed in Article III, of this durable power of attorney.

                                                 ARTICLE II

             My agent is authorized to act for me in my name, place and stead and may exercise any
     or all of the powers contained in this Article II.

          2.1     Banking and Other Financial Institution Transactions. With regard to
    banking and other financial institution transactions, my agent shall have the authority to conduct
    banking transactions as provided in section 709.2208(1), Florida Statutes.

            2.2    Investment Transactions. With regard to stock and bond transactions, my agent
    shall have the authority to conduct investment transactions as provided in section 709.2208(2),
    Florida Statutes.

             2.3     Real Property Transactions. With regard to real property transactions, my
     agent may exercise all of the following powers with regard to any real property I own: (1)
     convey or mortgage homestead property; (2) accept as a gift or as security for a loan or reject,
     demand, buy, lease, receive, or otherwise acquire an interest in real property or a right incident to
    real property; (3) sell, exchange, convey with or without covenants, quitclaim, release, surrender,
    mortgage, encumber, partition, consent to partitioning, subdivide, apply for zoning, rezoning, or
    other governmental permits, plat or consent to platting, develop, grant options concerning, lease
    or sublet, or otherwise dispose of an estate or interest in real property or a right incident to real
    property; (4) release, assign, satisfy, and enforce by litigation, action, or otherwise a mortgage,
    deed of trust, encumbrance, lien, or other claim to real property that exists or is claimed to exist;
    (5) do any act of management or of conservation with respect to an interest in real property, or a
    right incident to real property, owned or claimed to be owned by me, including power to insure
    against a casualty, liability, or loss; obtain or regain possession or protect the interest or right by
    litigation, action, or otherwise; pay, compromise, or contest taxes or assessments or apply for and
    receive refunds in connection with them; and purchase supplies, hire assistance or labor, or make
    repairs or alterations in the real property; (6) use, develop, alter, replace, remove, erect, or install
    structures or other improvements on real property in which Ihave or claim to have an estate,

    Durable Power of Attorney of
    John Crawn                                                                                       JC
                                                    Page 1
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 16 of 22




     interest, or right; (7) participate in a reorganization with respect to real property or a legal entity
      that owns an interest in or right incident to real property, receive and hold shares of stock or
     obligations received in a plan or reorganization, and act with respect to the shares or obligations,
     including selling or otherwise disposing of the shares or obligations; exercising or selling an
     option, conversion, or similar right with respect to the shares or obligations; and voting the
     shares or obligations in person or by proxy; (8) change the form of title of an interest in or right
     incident to real property; and (9) dedicate easements or other real property in which I have or
     claim to have an interest to public use, with or without consideration.

            2.4      Tangible Personal Property Transactions. With regard to tangible personal
    property transactions, my agent may exercise all of the following powers: (1) accept as a gift or
     as security for a loan, reject, demand, buy, receive, or otherwise acquire ownership or possession
     of tangible personal property or an interest in tangible personal property; (2) sell, exchange,
    convey with or without covenants, release, surrender, mortgage, encumber, pledge, hypothecate,
    create a security interest in, pawn, grant options concerning, lease or sublet to others, or
    otherwise dispose of tangible personal property or an interest in tangible personal property; (3)
    release, assign, satisfy, or enforce by litigation, action, or otherwise a mortgage, security interest,
    encumbrance, lien, or other claim on my behalf, with respect to tangible personal property or an
    interest in tangible personal property; and (4) do an act of management or conservation with
    respect to tangible personal property or an interest in tangible personal property on my behalf,
    including insuring against casualty, liability, or loss; obtaining or regaining possession or
    protecting the property or interest by litigation, action, or otherwise; paying, compromising, or
    contesting taxes or assessments or applying for and receiving refunds in connection with taxes or
    assessments; moving from place to place; storing for hire or on a gratuitous bailment; and using,
    altering, and making repairs or alterations.

             2.5    Business Operation Transactions. With regard to business operation
     transactions, my agent may exercise all of the following powers: (1) operate, buy, sell, enlarge,
     reduce, or terminate a business interest; (2) to the extent that my agent is permitted by law, to
    perform a duty or discharge a liability or exercise a right, power, privilege, or option thatIhave,
     may have, or claim to have under a partnership agreement, whether or not I am a general or
     limited partner; (3) to the extent that my agent is permitted by law, to enforce the terms of a
    partnership agreement by litigation, action, or otherwise; (4) to the extent that my agent is
    permitted by law, to defend, submit to arbitration, settle, or compromise litigation or an action to
    whichIam a party because of membership in the partnership; (5) exercise in person or by proxy
    or enforce by litigation, action, or otherwise a right, power, privilege, or optionIhave or claim to
    have as the holder of a bond, share, or other instrument of similar character and defend, submit to
    arbitration, settle, or compromise a legal proceeding to which I am a party because of a bond,
    share, or similar instrument; (6) with respect to any business owned solely by me, continue,
    modify, renegotiate, extend, and terminate a contract made with any individual or legal entity,
    firm, association, or corporation by or on my behalf with respect to the business before execution
    of the power of attorney; (7) with respect to any business owned solely by me, to determine the
    location of its operation; the nature and extent of its business; the methods of manufacturing,
    selling, merchandising, financing, accounting, and advertising employed in its operation; the
    amount and types of insurance carried; and the mode of engaging, compensating, and dealing
    with its accountants, attorneys, and other agents and employees; (8) with respect to any business

    Durable Power of Attorney of
    John Crawn                                                                                      JC
                                                   Page 2
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 17 of 22




      owned solely by me, to change the name or form of organization under which the business is
      operated and enter into a partnership agreement with other persons or organize a corporation to
      take over all or part of the operation of the business; (9) with respect to any business owned
      solely by me, to demand and receive money due or claimed by me or on my behalf in the
      operation of the business and control and disburse the money in the operation of the business;
      (10) put additional capital into a business in which I have an interest; (11) join in a plan of
     reorganization, consolidation, or merger of the business; (12) sell or liquidate a business or part
      of it at the time and on the terms that my agent considers desirable; (13) establish the value of a
     business under a buy-out agreement to which I am a party; (14) prepare, sign, file, and deliver
     reports, compilations of information, returns, or other papers with respect to a business that are
     required by a governmental agency, department, or instrumentality or that my agent considers
     desirable and make related payments; and (15) pay, compromise, or contest taxes or assessments
     and do any other act that my agent considers desirable to protect me from illegal or unnecessary
     taxation, fines, penalties, or assessments with respect to a business, including attempts to
     recover, in any manner permitted by law, money paid before or after the execution of the power
     of attorney.

              2.6    Insurance Transactions. With regard to insurance transactions, my agent may
     exercise all of the following powers: (1) continue, pay the premium or assessment on, modify,
     rescind, release, or terminate a contract procured by or on my behalf that insures or provides an
     annuity to either me or another person, whether or not I am a beneficiary under the contract; (2)
     procure new, different, or additional contracts of insurance and annuities for me or my spouse,
     children, and other dependents and select the amount, type of insurance or annuity, and mode of
     payment; (3) pay the premium or assessment on or modify, rescind, release, or terminate a
     contract of insurance or annuity procured by my agent; (4) apply for and receive a loan on the
     security of the contract of insurance or annuity; (5) surrender and receive the cash surrender
     value of a contract of insurance or annuity; (6) exercise an election; (7) change the manner of
     paying premiums; (8) change or convert the type of insurance contract or annuity with respect to
     which I have or claim to have a power described in this section; (9) apply for and procure
    government aid to guarantee or pay premiums of a contract of insurance on my life; (10) collect,
     sell, assign, hypothecate, borrow on, or pledge my interest in a contract of insurance or annuity;
    and (11) pay from proceeds or otherwise, compromise or contest, or apply for refunds in
    connection with a tax or assessment levied by a taxing authority with respect to a contract of
    insurance or annuity or its proceeds or liability accruing because of the tax or assessment.

             2.7     Estate, Trust, and Other Beneficiary Transactions. With regard to estate, trust,
    and other beneficiary transactions, my agent may act for me in all matters that affect a trust,
    probate estate, guardianship, conservatorship, escrow, custodianship, or other fund from whichI
    am, may become, or claim to be entitled, as a beneficiary, to a share or payment, including to: (1)
    accept, reject, receive, receipt for, sell, assign, release, pledge, exchange, or consent to a
    reduction in or modification of a share in or payment from the fund; (2) demand or obtain by
    litigation, action, or otherwise money or any other thing of value to whichIam, may become, or
    claim to be entitled because of the fund; (3) initiate, participate in, or oppose a legal or judicial
    proceeding to ascertain the meaning, validity, or effect of a deed, will, declaration of trust, or
    other instrument or transaction affecting my interest; (4) initiate, participate in, or oppose a legal
    or judicial proceeding to remove, substitute, or surcharge a fiduciary; (5) conserve, invest,

    Durable Power of Attorney of
    John Crawn
                                                   Page 3                                        )ez
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 18 of 22




     disburse, or use anything received for an authorized purpose; and (6) transfer all or part of my
     interest in real property, stocks, bonds, accounts with financial institutions, insurance, and other
     property to the trustee of a revocable trust created by me as settlor.

              2.8     Claims and Litigation. With regard to claims and litigation, my agent has the
      power to: (I) assert and prosecute before a court or administrative agency a claim, a claim for
      relief, a counterclaim, or an offset or defend against an individual, a legal entity, or a
       government, including suits to recover property or other thing of value, to recover damages
       sustained by me, to eliminate or modify tax liability, or to seek an injunction, specific
      performance, or other relief; (2) bring an action to determine adverse claims, intervene in an
      action or litigation, and act as amicus curiae; (3) in connection with an action or litigation,
     procure an attachment, garnishment, libel, order of arrest, or other preliminary, provisional, or
      intermediate relief and use an available procedure to effect or satisfy a judgment, order, or
      decree; (4) in connection with an action or litigation, perform any lawful act 1 could perform,
     including acceptance of tender, offer of judgment, admission of facts, submission of a
     controversy on an agreed statement of facts, consent to examination before trial, and binding of
     me in litigation; (5) submit to arbitration, settle, and propose or accept a compromise with
     respect to a claim or litigation; (6) waive the issuance and service of process on me, accept
     service of process, appear for me, designate persons on whom process directed to me may be
     served, execute and file or deliver stipulations on my behalf, verify pleadings, seek appellate
     review, procure and give surety and indemnity bonds, contract and pay for the preparation and
     printing of records and briefs, or receive and execute and file or deliver a consent, waiver,
     release, confession of judgment, satisfaction of judgment, notice, agreement, or other instrument
     in connection with the prosecution, settlement, or defense of a claim or litigation; (7) act for me
     with respect to bankruptcy or insolvency proceedings, whether voluntary or involuntary,
     concerning me or some other person, with respect to a reorganization proceeding or a
     receivership or application for the appointment of a receiver or trustee that affects my interest in
     real or personal property or other thing of value; and (8) pay a judgment against me or a
     settlement made in connection with a claim or litigation and receive and conserve money or
     other thing of value paid in settlement of or as proceeds of a claim or litigation.

            2.9      Personal and Family Maintenance. With regard to personal and family
    maintenance, my agent may exercise all of the following powers: (1) perform the acts necessary
    to maintain the customary standard of living of me, my spouse and children, and other
    individuals customarily or legally entitled to be supported by me, including providing living
    quarters by purchase, lease, or other contract, or paying the operating costs, including interest,
    amortization payments, repairs, and taxes on premises owned by me and occupied by those
    individuals; (2) provide for the individuals described by Subsection (1) of this section normal
    domestic help, usual vacations and travel expenses, and funds for shelter, clothing, food,
    appropriate education, and other current living costs; (3) pay necessary medical, dental, and
    surgical care, hospitalization, and custodial care for the individuals described by Subsection (1)
    of this section; (4) continue any provision made by me for the individuals described by
    Subsection (1) of this section, for automobiles or other means of transportation, including
    registering, licensing, insuring, and replacing the automobiles or other means of transportation;
    (5) maintain or open charge accounts for the convenience of the individuals described by
    Subsection (1) of this section and open new accounts that my agent considers desirable to

    Durable Power of Attorney of
    John Crawn
                                                  Page 4
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 19 of 22




     accomplish a lawful purpose; and (6) continue payments incidental to my membership or
     affiliation in a church, club, society, order, or other organization or to continue contributions to
     those organizations.

             2.10 Benefits From Certain Governmental Programs or Civil or Military Service.
     With regard to benefits from social security, Medicare, Medicaid, or other governmental
     programs or civil or military service, my agent has the power to: (1) execute vouchers in my
    name for allowances and reimbursements payable by the United States, a foreign government, or
     a state or subdivision of a state to me, including allowances and reimbursements for
    transportation of the individuals described by Section 2.09(1) of this durable power of attorney,
     and for shipment of their household effects; (2) take possession and order the removal and
    shipment of my property from a post, warehouse, depot, dock, or other place of storage or
    safekeeping, either governmental or private, and execute and deliver a release, voucher, receipt,
    bill of lading, shipping ticket, certificate, or other instrument for that purpose; (3) prepare, file,
    and prosecute a claim to a benefit or assistance, financial or otherwise, to whichI claim to be
    entitled under a statute or governmental regulation; (4) prosecute, defend, submit to arbitration,
    settle, and propose or accept a compromise with respect to any benefits I may be entitled to
    receive; and (5) receive the financial proceeds of a claim of the type described in this Section
    2.10 of this durable power of attorney and conserve, invest, disburse, or use anything received
    for a lawful purpose.

            2.11 Retirement Plan Transactions. With regard to retirement plan transactions, my
     agent may exercise all of the following powers: (1) apply for service or disability retirement
    benefits; (2) select payment options under any retirement plan in whichIparticipate, including
    plans for self-employed individuals; (3) make voluntary contributions to retirement plans if
    authorized by the plan; (4) exercise the investment powers available under any self-directed
    retirement plan; (5) make "rollovers" of plan benefits into other retirement plans; (6) borrow
    from, sell assets to, and purchase assets from retirement plans if authorized by the plan; (7)
    receive, endorse, and cash payments from a retirement plan; and (8) request and receive
    information relating to me and my retirement plan records.

            2.12 Tax Matters. With regard to tax matters, my agent may exercise all of the
    following powers: (1) prepare, sign, and file federal, state, local, and foreign income, gift,
   payroll, Federal Insurance Contributions Act, and other tax returns, claims for refunds, requests
    for extension of time, petitions regarding tax matters, and any other tax-related documents,
    including receipts, offers, waivers, consents, including consents and agreements under Section
    2032A of the Internal Revenue Code of 1986, as amended, (the "Code"), closing agreements, and
    any power of attorney form required by the Internal Revenue Service or other taxing authority
    with respect to a tax year on which the statute of limitations has not run and 25 tax years
    following that tax year; (2) pay taxes due, collect refunds, post bonds, receive confidential
   information, and contest deficiencies determined by the Internal Revenue Service or other taxing
   authority; (3) exercise any election available to me under federal, state, local, or foreign tax law;
   (4) act for me in all tax matters for all periods before the Internal Revenue Service and any other
   taxing authority; and (5) represent me, and appoint an agent or agents to represent me, before the
   Internal Revenue Service or any State or other taxing authority by completing, signing, and
   submitting IRS Form 2848 or any other governmental form.

   Durable Power of Attorney of
   John Crawn                                                                                     JC
                                                  Page 5
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 20 of 22




             2.13 Existing and Foreign Interests. The powers described in Article II of this
     durable power of attorney may be exercised equally with respect to an interest Ihave at the time
     this durable power of attorney is executed or an interest whichI acquire later, whether or not the
     interest is located in Florida and whether or not the powers are exercised or the durable power of
     attorney is executed in Florida.

                                                ARTICLE III

             My agent is authorized to perform the following specific acts for me ifIhave initialed the
     specific authority listed below:

     Initial:

                     Digital Assets, Digital Accounts, and Digital Devices. My agent shall have the
                     power to access, manage, modify, control, use, continue, cancel, deactivate,
                     delete, transfer, or archive my Digital Accounts and Digital Assets, and to access,
                     control, use, deactivate, or dispose of my Digital Devices. "Digital Accounts" are
                     electronic systems for creating, generating, sending, sharing, communicating,
                     receiving, storing, displaying, or processing information which provides access to
                     a Digital Asset which is stored on any type of Digital Device, regardless of the
                     ownership of the Digital Device upon which the Digital Asset is stored, including
                     but not limited to, email accounts, social network accounts, social media
                     accounts, file sharing accounts, health insurance accounts, health-care accounts,
                     financial accounts, credit card accounts, travel-related accounts, domain
                    registration accounts, domain name service accounts, web hosting accounts, tax
                    preparation service accounts, online store accounts and affiliate programs thereto,
                    including accounts with publishers, intemet service providers, retail vendors,
                    utility companies and other online accounts which currently exist or may exist as
                     technology develops or such comparable items as technology develops. "Digital
                     Assets" mean data, files, text messages, emails, documents, audio, video, images,
                    sounds, social media content, social networking content, apps, codes, health care
                    records, health insurance records, credit card points, travel-related miles and
                    points, computer source codes, computer programs, software, software licenses,
                    databases, or the like, including access credential such as usernames, passwords
                    and answers to secret questions, which are created, generated, sent,
                    communicated, shared, received, or stored by electronic means on a Digital
                    Device. "Digital Devices" are electronic devices that can create, generate, send,
                    share, communicate, receive, store, display, or process information, and such
                    electronic devices shall include, but are not limited to, servers, desktops, laptops,
                    tablets, peripherals, mobile telephones, smartphones, personal digital assistants,
                    electronic books, electronic watches, electronic body and activity monitoring
                    equipment, audio and video recorders, flash drives, hard drives, digital memory
                    cards, and any similar storage device which currently exists or may exist as
                    technology develops or such comparable items as technology develops.


    Durable Power of Attorney of
    John Crawn
                                                   Page 6
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 21 of 22




                                                ARTICLE IV

            Notwithstanding any provision herein to the contrary, any authority granted to my agent
     shall be limited so as to prevent this durable power of attorney from causing my agent to be
     taxed on my income (unless my agent is my spouse) and from causing my assets to be subject to
     a general power of appointment by my agent, as that term is defined in Section 2041 of the Code.

                                                ARTICLE V

             Any act or thing lawfully done hereunder by my said agent shall be binding on myself
     and my heirs, legal and personal representatives, and assigns, provided, however, that all
     business transacted hereunder for me or for my account shall be transacted in my name, and that
     all endorsements and instruments executed by my said agent for the purpose of carrying out the
     foregoing powers shall contain my name, followed by that of my said agent and the designation
     "Agent."

                                                ARTICLE VI

            Any third party may transact any matter with my agent in the same manner and to the
    same extent as the third party would transact such matter with me. Third parties who act in
    reliance upon the representations of my agent shall be held harmless by me, my estate, the
    beneficiaries of my estate, or joint owners of property from any loss suffered or liability incurred
    as a result of actions taken prior to receipt of written notice of revocation, suspension, notice of a
    petition to determine incapacity, partial or complete termination, or my death. Any third party
    may rely upon a copy of this durable power of attorney certified by my agent to be a true copy of
    the original hereof, as fully as if such third party had received an original of this durable power
    of attorney.

                                               ARTICLE VII

           My agent shall not be liable for any acts or decisions made in good faith and in
    conformity with the powers enumerated in this durable power of attorney. However, my agent
    shall not be relieved from liability for breach of duty committed dishonestly, with improper
    motive, or with reckless indifference to me or the purposes of this durable power of attorney.

                                              ARTICLE VIII

           My agent shall have the power to pay a reasonable fee from my estate to each agent who
    is a qualified agent as defined in Section 709.2112(4), Florida Statutes as compensation for
    services rendered under this durable power of attorney in an amount which does not exceed the
    customary and prevailing charges for services of a similar character at the time and place such
    services are performed. My agent shall also be entitled to reimbursement of expenses reasonably
    incurred on my behalf.




    Durable Power of Attorney of
    John Crawn
                                                  Page 7
Case 9:18-cv-81358-RLR Document 1-2 Entered on FLSD Docket 10/10/2018 Page 22 of 22




                                                          ARTICLE IX

             This durable power of attorney is not terminated by subsequent incapacity of the
     principal except as provided in chapter 709, Florida Statutes. This durable power of attorney
     shall terminate by one or more of the following circumstances:

            (1) My death;
            (2) The death or deaths of all agents named in the first paragraph of this durable power of
     attorney; or
            (3) The occurrence of an event described in Section 709.2109, Florida Statutes.

                Signed on the 2--day of Ped2-rCete,0                        , 2017.



                                                            .10A.WN, Principal
     WITNESSES (both of whom are
     18 years of age or older):

               Signature:
               Print Name:                  William Price
               Address:                     521 S. Olive Ave.
                                            West Palm Beach, FL 33401
               Date:                                                    , 2017

               Signature:
               Print Name:                  Dawn Pressley
               Address:                     2809 SE 38th Ave.
                                            Okeechobee, FL, 34974
               Date:                                 -2. 07             , 2017

    STATE OF FLORIDA

    COUNTY OF ST. LUCIE

           Theforegoing instrument was acknowledged before me on the 2C —clay of
                                        ,
                              2017, by JOHN CRAWN, who produced a driver's license issued by
    Florida that contained his photograph and signature as identification, and by William Price
    and Dawn Pressley, witnesses.

                         KAREN TERRY
                Notary Public - $tate of Florida
                  Commission • FF 936008                    Notary Public, St te of F orida
               My Comm. Expires Mar 8, 2020
     •         Borrledtfrourih National Notary Assn.
    Durable Power o A o ey o
    John Crawn                                                                                 JC
                                                            Page 8
